                                                                              KS
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                                                                                         Mar 24, 2022

                                 U NITED STATE S D ISTR ICT CO U RT
                                 SO UTH ERN D ISTR ICT OF FLO R IDA

                             C aseN o.22-20114-CR-WILLIAMS/MCALILEY
                                       18U.S.C.j19561)
                                       18U.S.C.j1956(a)(1)(B)(i)
                                       18U.S.C.j1957
                                       18U.S.C.j2
                                       18U.S.C.j982(a)(1)
  UN ITED STA TES O F AM ER ICA

  V S.

  C ART,O S M M O N PO LIT FA G G IO M ,

  D efendant.
                                                 /

                                          IN D ICTM ENT

         The Grand Juty chargesthat:

                                   G EN ER AT,A LLE G ATIO N S

         Ata1ltim esrelevanttothislndictment,unlessotherwise specified:

                         R ELEV AN T IN D IW DU A LS A N D EN TITIES

                 CA RL O S R AM ON PO LIT FA G G IO N Iw as a dtizen ofEcuador and served as

  thecomptrollergeneral(çlcomptroller'')ofEcuadorf'
                                                  rom in orarotmd2007to2017(Gttherelevant
  period'').
                Ecuador ereated the oftk e ofcom ptrollerto preventfraud and com ption relating

  to the use ofEcuador'spublic funds. The com ptroller had the pow erto initiate investigations,to

  im pose fines,and to prepare reportsrelating to the m isuse ofpublic ftm ds.

                 Co-conspirator 1,an individualw hose identity is known to the Grand Jury,w as a

  relative ofCA R IUO S R AM O N PO LIT FA G G IO NI. Co-conspirator 1 resided in the Southem

  DistrictofFlorida.
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                Co-conspirator     controlled a num ber of com panies,incorporated in Flodda,

  includingamongOthers,FloridaCompany 1throughFloddaCompany 14(together,thetTlorida
  Companies''). The Florida Companiesmaintained banlcaccountsin the Southern Districtof
  Florida.

                Intermediary Companies 1,2,and 3 (together,tlle tçlntermediary Companiesh')
  m aintained bank accountsin Panam a.

                OdebrechtS.A .w as a Brazilian holding com pany that,through itssubsidiades and

  compnniesinwlzichitwasamajorityshareholder(collectively EEodebrecht''),conductedbusiness
  in m ultiple industries,including engineering, construction,infrastnlcture, energy, chem icals,

  utilities,and realestate. Odebrechthad itsheadquM ersin Salvador,state ofBnhia,Brazil,and

  operated in atleast27 other counkies,including Ecuador.

                Co-conspirator2,an individualwhose identity islmown to the Grand Jm'y,wasa

  senior manager atOdebrechtfw m approxim ately 2010 to 2016,whose regionalresponsibility

  included Ecuador dtuing therelevanttim e period.

                SegurosSucreS.A.(CGsegurosSucre'')wasthestate-owned insttrancecompany of
  Ecuadorthatwascontrolledby thegovernm entofEcuador.

                Co-conspirator3,an individualwhoseidentityisknown tothe Grand Jury,wasan

  Cctladorean businessperson.
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                                            CO U N T 1
                            Conspiracy to C om m itM oney L aundering
                                        (18U.S.C.j1956(h))
                Paragraphs 1 through 9 of the General Allegations Section are re-alleged and

  incorporated by referenceasthough fully setforth herein.

                From in oraroundJanuary2010,continuinguntilatleastM ay2017,intheSouthern

  D istrictofFlorida,and elsew here,the defendant,

                             C AR I,O S R AM O N PO LIT FA G GIO M ,

  did knowingly and voluntarily combine,conspire,contkderate and agree with Co-conspirator 1,

  Co-conspirator2,Co-conspirator3,and others,known and llnknow n to the Grand Jury,to com m it

  offensesunderTitle 18,United StatesCode,Section 1956 and 1957,asfollows:

                to lcnowingly conduct a financial kansaction which involved the proceeds of

  specified lmlawful activity, lcnowing that the property involved in the financial transaction

  represented theproceedsofsom efonn oflmlawfulactivity,and lcnowing thatthet'
                                                                             ransaction was

  designed,in whole and in part,to concealand disguise the nature,location,sotlrce,ownership and

  controloftheproceedsofsaid specifed llnlawfulactivity,in violation ofTitle 18,United States

  Code,Section 1956(a)(1)(B);
                to knowingly transport,transm it,and transfer,and attemptto t'
                                                                             ransport,transm it,

  and transfer,a m onetary instnzm entand ftm ds from a place in the Ullited States to and tllrough a

  place outsidetheU nited States,and to a place in theU nited Statesfrom and tllrough aplace outside

  the U nited States,w ith the intent to prom ote the carlying on of specified tm law fulactivity,in

  violation ofTitle18,UnitedStatesCode,Section 1956(a)(2)(A),
                                                            'and
                to know ingly engage in a m onetary transaction by, through, and to a financial

  institm ion,affecting interstate com m erce in crim inally derived property of a value greater than
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  $10,000 thatis derived from specified unlawfulactivity,in violation ofTitle 18,United States
  Code,Section 1957.

         ltis f'
               urther alleged thatthe specified tmlawful activity is an offense against a foreign

  nation,specifically Ecuador,involvingbribery ofapublicofficial,andthem isappropriation,theft

  and embezzlem entof public funds by and forthe benestof a public ofscial,as provided by

  Title 18,United StatesCode,Section 1956(c)(7)(B)(iv).
                                 PUR PO SE O F TH E C ON SPIR A CY

                Itw asthe purpose ofthe conspiracy forC ARI,O S R AM O N PO LIT FA G G IO N I

  and Co-conspirator 1 to unlawfully enrich them selves by laundering bribes that CARI,OS

  R AM O N PO LIT FA G G IO M solicited and received from Co-conspirators 2 and 3, am ong

  others,into and through bnnk accountsin the Southern DistrictofFlorida and elsewhere,aswell

  asthrough thepurchase ofrealestateand otherassetsin South Floridaand elsewhere.

                       M A NN ER AN D M EAN S O F TH E C O N SPIM CY

         The m nnner and m eans by w llich CA RL O S R AM O N PO LIT FA G G IO N I and his co-

  conspiratorssoughtto accomplish thepurposeoftheconspiracy included,am ong otherthings,the

  followingconductinthe Southern DistrictofFlorida and elsewhere:

                Beginning in or arotmd 2010, and continuing tmtil at least 2014, CARI,O S

  R AM ON POLIT FAGGIONI solicited and received bribe paym entsfrom Co-conspirator2 in

  exchange forusing hisoftk ialposition and influence ascomptroller ofEcuadorto preventthe

  imposition of large '
                      fines on Odebrecht by the comptroller's office relating to Odebrecht's

  constnzctionprojectsinEcuador.
                From in orarotm d 2010 to 2014,Co-conspirator2 paid approxim ately $8m illion
  in cash bribes to C AR LO S M M O N PO LIT FA G G ION I in exehange for using his official
Case 1:22-cr-20114-KMW Document 1 Entered on FLSD Docket 03/25/2022 Page 5 of 13




  position as com ptroller to influence official actions by the Ecuador com ptroller's office in order

  to benefit Odebrecht alzd its business in Ecuador. In furtherance of the schem e, CARI,OS

  R AM ON POLIT FA GGIOM toldCo-conspiratorz thatPOLIT used Co-conspirator1tom ake

  the cash Gldisappear.''

         6.      From in or around 2010,and continuing tmtilatleast 2017,atthe direction of

  CARI,OS R AM ON POLIT FAGGIONI,Co-conspirator 1 caused the proceedsof CARI,OS

  RAM ON POLIT FAGGIONI'Sbribery schemesto iEdisappear''by (a)registeringthe Florida
  CompnniesinFloridainthennmesofassociatesofCo-conspirator1(oftenwithouttheassociates'
  knowledge);(b)using fundsreceived from CARLOS M M ON POLIT FAGGIONI'Sbribery
  schemes to ptlrchase and renovate realestate in South Florida and elsewhere and to ptlrchase

  restaurants,adty cleaner,andotherbusinesses;and(c)causingtheserealestateassetsand other
  businessesto beheld in the name oftheFlorida Com paniesto concealthatthese assetswerefor

  thebenefitofCARI,OS RAM ON POLIT FAGG IONIand hisrelatives.

                 In or around 2013 and 2014,CA RL O S M M O N PO LIT FA G G IOM provided

  cash to Co-conspirator 3 in Ecuador and caused Co-conspirator 3 to w ire transfer funds to

  accounts in South Florida controlled by Co-conspirator 1,as directed by CART,O S R AM ON

  PO LIT FA G G IO N I.

         8.      In or around 2014,Co-conspirator2 requested that C ARI,O S R AM O N PO LIT

  FAGGIOM acceptbribe paym ents from Odebrechtthrough bnnk wire transfers ratherthan in

  cash and requested that C ARI,O S R AM O N PO LIT FA G G IO N I provide bnnk accotm tw iring

  instructionsto facilitate m aking bribe paym ents.




                                                       5
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                In or around 2014, Co-conspirator 1 provided CARLO S RAM ON POLIT

  FAGGIOM with bank accountwiring inform ation foraccotmtsofIntermedimy Com panies 1,2,

  and 3 in Panam a.

         10.    From in or arotm d April to N ovem ber 2014, C AR LO S R AM O N PO LIT

  FAGGIONI caused Odebrechtto m ake atleasttlu'ee m illion dollars irlbribe payments forthe

  benefitofCARI,O S M M ON POLIT FAGGIONIby wiretransferto accotptsin Panama of

  Interm ediary Companies 1,2 and 3. By causing these internationalwire transfers,for wllich

  paym ent cleared through U.S.correspondent banks,Odebrecht, CARI,OS RAM ON POLIT

  FAGG IONI,and others prom oted the tmlawfulschem e to bribe CARLOS RAM ON POLIT

  FAGG IONIto influenceofficialactionsoftheEcuadorean comptroller'soffice.

                From in orarotmd Jtme 2014 through M arch 2016,CARI,OS R AM ON POLIT

  FAGGIONI caused Co-conspirator 1 and Intermediary Companies 1,2 and 3 to wire transfer

  m illionsofdollrs in ftmds from aocotmtsin Panam a to an accountofFlorida Company 1 ata

  bnnk in South Florida and subsequently to other accounts,including accounts ofotherFlorida

  Companies,forthepurchase ofassetsin South Florida and elsewhere forthebenefitofCARI,O S

  R AM ON PO LIT FA G G IO M and hisrelatives.

                ln or around 2015,C AR LO S R AM ON PO LIT FA G G IO N I solicited and agreed

  to reeeive a bribe ofapproxim ately $500,000 from Co-conspirator 3 in exohange forusing llis
  oftk ialposition and influence as comptroller to assistCo-conspirator 3 in obtaining contracts

  9om SegurosSucrethatbenefitted Co-conspirator3'scom pany.

                CARI,OS RAM ON POLIT FAGGIOM directed Co-conspirator3to coordinate

  the paym entofthe bribe w ith Co-conspirator 1.




                                                    6
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                CAR I,O S R A M ON PO LIT FA G G IO N I and Co-conspirator 1 caused Co-

  Conspirator3towiretransfertltebribepaymentofapproximately $510,000to an accotmtof
  Florida Company 2 in South Florida on OraboutDecem ber2,2015,forthe benefitCART,OS

  RAM ON POLIT FA GGIOM and llisrelatives. Co-conspirator1 caused theissuance ofafake

  invoiceforpurported çttechnicaladvice''in connection with thispaym ent.

                From in oraround 2014 through in or around 2015,C ARI,O S M M O N PO LIT

  FA G G IO M and Co-conspirator 1 caused funds derived from the bribes C AR I,O S R AM O N

  PO LIT FA G G IO N I received from Odebrecht and Co-conspirator 3 to be used to upgrade a

  luxury residencein CoralGablesheldin thenameofFloridaCompany 4and soldin 2017 for$4.1
  million forthebenefitofCARLO S R AM ON POLIT FAG GIONIandhisrelatives.

         16.    In or arotm d M ay 2016, CA R LO S R AM O N PO L IT FA G G IO N I and Co-

  Conspirator 1 caused funds derived from bribes CARI,OS RAM ON POLIT FAGGIONI

  receivedfrom Odebrechttobeusedtoptlrchaseanofficebuildingin CoralGablesfor$2.6m illion,
  held in the nnme of Florida Com pany 5 for the benefit of CARI,OS RAM ON POLIT

  FA G G ION I and hisrelatives.

         A11inviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                         CO U N TS 2 -4
                                       M oney Laundering
                                   (18U.S.C.j1956(a)(1)(B)(i))
                Paragraphs 1 tllrough 9 of the General Allegations Sedion and paragraphs 1

  through 16 ofCount1arere-allegedandincorporated byreferenceasthough fully setforth herein.

         2.     On or about the dates set forth in each cotm tbelow ,in the Southern District of

  Florida and elsew here,the defendant,

                            C AR I,O S R AM O N PO LIT FA G G IO N I,
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  conducted, and aided and abetted, and caused to be conducted, and attem pted to conduct, a

  financial transaction involving the proceeds of specified ulzlawftzl activil ,lcnowing that the
  property involved represented theproceeds ofsome form ofunlawfulactivity,and lcnowing that

  the transaction w as designed in w hole and in partto conceal and disguise the nature, source,

  ownership,andcontroloftheproceedsofthespecised unlawfulactivity,thatis,an offenseagainst

  a foreign nation, specifically Ecuador, involving bribezy                                     public official, and the

  m isappropriation,theft and embezzlem entof public fllnds by and for the benefit ofa public

  official,ptlrsuanttoTitle18,UnitedStatesCode,Section 1956(c)(7)(B)(iv):
      :   % .                     ,                                                                '     :   .'        .
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          .         :. -          .       ..    '7   (       .'      .   '.       .    ' ' '    , .' '
                                                                                                     .       4)   .   r'.

          2                    Decem ber2,2015                    Check of approxim ately $300,000 from an account of
                                                                  FloridaCompany 2 intheSouthern Disv ctofFloridato
                                                                  an accotmtofFloridaCompany 3 intheSouthel.
                                                                                                           n DisG ct
                                                                  ofFlorida
          3                     M arch 22,2016                    Transferofapproximately $3,453,184 9om an accountof
                                                                  Interm ediaty Com pany 3 in Panam a to an account of
                                                                  Florida Company 1in the Southem DistrictofFlorida
          4                    October7,2016                      Transfer of approximately $34,300 from an account of
                                                                  lnterm ediary Com pany 1 in Pannm a to an accotm t of
                                                                  FloridaCompany 1in the Southern DistrictofFlorida

          A11i.
              nviolationofTitle18,UnitedStatesCode,Sections1956(a)(1)(B)(i)and2.
                                                      C O U NT S 5-6
                               E ngaging in T ransactions in C rim inally D erived Property
                                                                  (18U.S.C.j1957)
                      Paragraphs 1 tllrough 9 of the General A llegations Section and paragraphs 1

  through 16 ofCotmt1arere-allegedandincorporatedby referenceasthough fully setfot'thherein.

                      On or aboutthe dates setforth in each countbelow ,in the Southern Districtof

  Floridaand elsewhere,thedefendant,

                                               CAR I,O S R AM O N POL IT FAG G IO M ,

                                                                              8
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  did know ingly engage in,and aid,abet,and cause othersto engage in,and attem ptto engage in,a

  m onetary t'
             ransaction A fecting interstate com m erce,by,through,and to a financialinstim tion,in

  crim inally derived property ofa value greaterthan $10,000,such property having been derived
  from a specified tmlawful activity,alld knowing that the property involved in the financial

  transaction represented theproceedsofsom e form ofllnlawf'
                                                           ulactivity,thatisan offense against

  a foreign nation, specifically Ecuador, involving bribery of a public official, and the

  misappropriation,theft and em bezzlem entof public funds by and forthe benefh of a public

  official,pursuanttoTitle18,UnitedStatesCode,Section 1956(c)(7)(B)(iv):

          Coupt AppçoylmateD#è               .                  Descriptjon df.Tr>nsadiop
                  ''
      .       .              ,       .   .       .                         .   -        è          -

          5              M ay 27,2016            Transfer of approximately $1,375,450 from Florida
                                                 Com pany 1's accotmt in South Florida to an escrow
                                                 accountforthe purchase ofan office building located at
                                                 1902 SW 22 Streetin M iami,Florida
          6              April28,2017            Transferofapproximately $3,664,583.61âom an attorney
                                                 escrow accountin South Floddatothe accountofFlorida
                                                 Company 4 in South Florida forthe sale ofthe property
                                                 located at 7233 Los Pinos Boulevard in Coral Gables,
                                                 Florida

          ln violation ofTitle 18,U nited States Code,Sections 1957 and 2.

                                                 FO RFEITU R E
                                             (18U.S.C.j982(a)(1))
                       The allegations of this lndictment are re-alleged and by this reference fully

  incorporated herein forthepurposeofalleging forfeitureto the United StatesofAm ericà ofcertain

  property in which thedefendant,CARI,O S R AM ON POLIT FAGGIOM ,hasan interest.

                       U pon conviction ofa violation ofTitle 18,United States Code,Section 1956 or

  1957,as alleged this Indictm ent,the defendant,C AR LO S R AM O N PO LIT FA G G IO N I,shall



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  forfeittotheUnited Statesanyproperty,realorpersonal,involved in such offense,oranyproperty

  t'
   raceabletosuchproperty,ptlrsuanttoTitle 18,UnitedStatesCode,Section 982(a)(1).
                 Thepropertysubjecttoforfeitureasaresultoftheallegedoffensesincludes,butis
  notlim ited to,the follow ing:

                 a. Realproperty located at1902 SW 22 S'
                                                       treet,M iam i,Florida33145;

                 b. Realproperty located at301AltaraAve,Unit702,M inm i,Florida33146;and

                 c. R ealproperty located at 1010-30 N W 9th Ct,M inm i,Florida 33136.

                Ifany ofthepropeo described aboveasbeing subjectto forfeitlzre,asaresultof
  any actorom ission ofthe defendant'
                                    .

                 a.     cnnnotbe located upon the exercise ofdue diligence;

                 b.     hasbeentransferred orsold to,ordeposited with,athirdparty;

                 C.     hasbeenplacedbeyondthejtlrisdictionoftheCourq
                 d.     hasbeen substantially diminished in value;or

                 e.     hasbeen comm ingled with otherproperty thatcannotbedivided without

                        difficulty;

  the U nited States shallbe entitled to forfeiture ofsubstituteproperty,underthe provisions of

  Title21,UnitedStatesCode,Section853û$.
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           AllptlrsuanttoTitle18,UzzitedStatesCode,Section 982(a)(1),andthepzoceduzessetforth
    in Title 21,United States Code,Section 853,as incorporated by Title 18,United States Code,

    982(b)(1).
                                                    A TRIJE


                                                    FO

                                                           &




    JU      A N TO O G ON ZM EZ                  Tv JO SEPH BEEM STERB OER
         ITED STA S A TTORN EY                      A CTIN G CH IEF,FRAU D SECTION
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*'' M ichaelN . Berger                          G JillSimon
    A ssistantUnited StatesA ttorney              A lexanderKzam er
                                                  TdalA ttorney




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Case 1:22-cr-20114-KMW Document 1 Entered on FLSD Docket 03/25/2022 Page 12 of 13
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                                              v           CA SE NO .
  v                                            '
  CARLOS RAMON POLITFAGGIONI.                             C ERTIFICATE OF T RIAL ATTO RNEY.
                                                1
                                               1-
                                             e*).*;       Superseding Caselnformation:
                 Defendant.                           /
    courtDivision:(Selectone)                             Newdefendantts) I--IYes U-INo
   I-l
    z Miami N KeyWest N FTL                               Numberofnewdefendants
   I-IWPB N FTP                                           Totalnumberofcotmts
        1.Ihavecqçfully considerçdtheallegationsoftheindictment,thenllmberofdefendants,thenumberofprobable
          witnesses:
                   andthelegalcomplexitiesoftheIndictm ent/lnfolm ation attachedhereto.
        2.Inm aFpm #.'.
                      attheipfolvationsuppliedonthisstatementwillberelieduponbytheJudgesofthisCourtin
             settingtke'
                       irca'lendars'andschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,
             Title28U. r.S.
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                             t                        Misdemeanor       ID
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         V 61xlavsi ahd'over':' Z
        6.Hasthiscaseprèviouslybeenfiledi.
                                         nthisDistrictCourt? (YesorNo) No                        EVI
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                      zY dtè        ''' '                 CaseNo.
             (Attach.copyofdisposiéveorder)
             Hasacomplaintbeenfiledinthismatler? (YesorNo)                           177
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             lfyes:M akiskateCam No.
                       .''''''           '      '

             Related m iscellaneotlsm lm bers:
             Defendanttsl.infederalcustodyasof
             Defendanttg)instate.custodyasof
             Rule20 from theDistrictof
             lsthisapotentialdeathpenaltycase?(YesorNo)
        7. Doesthist
                   case originatefrom am atterpending in theCentralRegion oftheU.S.Attom ey'sOffice priorto
             August9,20l3.(M ag.JudgeAlicia0.Valle)?(YesorNo) No                          C-
                                                                                          :v'1
        8. Doesthiscase originatefrom am atterpending in theNorthernRegion oftheU .S.Attorney'sOfficepriorto
           August8,2014.(M ag.JudgeShaniekM aynard?(YesorNo) No                      1D
                                                                                      .
                                                                                      '+:'
        9. Doesthiscase originatefrom am atterpending in theCentralRegion oftheU.S.Attorney'sOfficepriorto
             October3,2019(Mag.JudgeJaredStrauss)?(YesorNo) No                         r'
                                                                                        WI



                                                                       M ichaelN.Berger
                                                                       AssistantUnitedStatesAttorney           ZV'
                                                                       CourtID No.        A5501557
*penaltySheetts)attachd                                                                                 REV 3/19/21
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                            UN ITED STA TES D ISTR IC T CO UR T
                            SO U TH ER N D ISTR ICT O F FL O R ID A

                                       PEN A LTY SH EET

  D efendant's N am e:C ART,O S R AM O N POLIT FA G G IO M



  Count#:1

  Conspiracy to Com m itM onev Laundedn:

  Title18.UnitedStatesCodesSection 1956(h)
  *M ax.Penalty:Twenty(20)Years'Imprisonment
  Cotmt#:2-4

  h4oney Laundeina

  Title 18sUnited StatesCodesSedion 1956(a)(1)(B)(i)

  *M ax.Penalty:Twenty(20)Years'Imprisonment                                     - -




  Count#:5-6

  Etm aqin: in Transactionsin Criminallv Derived Propertv

  Title 18.United StatesCode.Section 1957

  *M ax.Pepalty:Ten(10)Years'lmprisonment




   WR efers only to possible term of incarceration,does notinclude possible fines,restitutiom
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
